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 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     )   1:11-CR-17 LJO
                                                   )
12                          Plaintiff,             )   ORDER CONTINUING MOTIONS HEARING
                                                   )   AND EXTENDING TIME FOR FILING OF
13                                                 )   GOVERNMENT’S OPPOSITION TO
                                     v.            )   DEFENDANT’S MOTIONS
14                                                 )
     JORGE REYNA,                                  )
15                                                 )
                            Defendants.            )
16                                                 )
17
18            The United States of America, by and through Benjamin B. Wagner, United States Attorney,
19   and Kathleen A. Servatius, Assistant United States Attorney, and the defendant, by and through
20   Marc Days, having stipulated and agreed that the hearing on this matter be continued to March 26
21   2012 at 8:30 am, and the government’s opposition to the defendants’ motions in this case be filed on
22   or before March 19, 2012, and good cause appearing therefore,
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24   IT IS SO ORDERED.
25   Dated:      March 6, 2012                      /s/ Lawrence J. O'Neill
     b9ed48                                     UNITED STATES DISTRICT JUDGE
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